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 1   KELLY BABINEAU (CA State Bar #190418)
 2
     The Law Office of Kelly Babineau
     455 Capitol Mall, Suite 802
 3   Sacramento, CA 95814
     Tel:(916) 442-4948
 4
     Fax: (916) 492-2909
 5   kbabineau@klblawoffice.net
 6
     Attorney for STARSHEKA MIXON
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 9
                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 16-CR-0010 MCE
                      Plaintiff,       )
12                                     ) STIPULATION AND
           v.                          ) ORDER
13
                                       ) TO CONTINUE STATUS CONFERENCE
14                                     ) UNDER SPEEDY TRIAL ACT
     DEENA CHAMBERS, and               )
15
     STARSHEKS MIXON                   ) Date: January 5, 2017
16                    Defendants.      ) Time: 9:00 a.m.
     __________________________________) Judge: Hon. Morrison C. England, Jr.
17

18                                      STIPULATION

19     1. By previous order, this matter was set for status on December 15, 2016.
20
       2. By this stipulation, defendants now move to continue the status conference until
21
          January 5, 2017, and to exclude time between December 15, 2016 and January 5,
22

23        2017, under Local Code T4.
24
       3. The parties agree and stipulate, and request that the Court find the following:
25
              a. The government produced over 25,000 pages of discovery associated with
26

27               this case, including tax returns, bank and credit card statements,
28               investigative reports and other documents. The government has also made


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 1      electronic and physical evidence available for review.
 2
     b. Kelly Babineau, counsel for defendant Starsheska Mixon, was added as
 3
        counsel of record on June 22, 2016. Ms. Babineau has started her review
 4

 5      of the discovery but needs additional time due to her trial schedule in state
 6
        court. Ms. Babineau needs additional time to complete her review of the
 7
        discovery, conduct further investigation and discuss potential resolutions
 8

 9      with her client. Matthew Bockman, counsel for defendant Deena

10      Chambers, also needs additional time to continue his investigation and
11
        discuss potential resolutions with his client.
12

13
     c. Counsel for defendants believe that failure to grant the above-requested

14      continuance would deny counsel the reasonable time necessary for
15
        effective preparation, taking into account the exercise of due diligence.
16
     d. The government does not object to the continuance.
17

18   e. Based upon the above-stated facts, the ends of justice served by continuing
19      the case as requested outweigh the interest of the public and the defendant
20
        in a trial within the original date prescribed by the Speedy Trial Act.
21

22   f. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

23      § 3161, et seq., within which trial must commence, the time period of
24
        December 15, 2016, to January 5, 2017, inclusive, is deemed excludable
25

26
        pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv), Local Code T4, because it

27      results from a continuance granted by the Court at defendants’ request on
28
        the basis of the Court’s finding that the ends of justice served by taking


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 1               such action outweigh the best interest of the public and the defendant in a
 2
                 speedy trial.
 3

 4
       4. Nothing in this stipulation and order shall preclude a finding that other provision

 5         of the Speedy Trial Act dictate that additional time periods are excludable from
 6
           the period within which a trial must commence.
 7
     IT IS SO STIPULATED.
 8

 9
     Dated: December 8, 2016                         Respectfully submitted,
10

11
                                                     /s/ Kelly Babineau
                                                     KELLY BABINEAU
12                                                   Attorney for Starsheka Mixon
13

14   Dated: December 8, 2016                         /s/ Matthew Bockman by Kelly Babineau
                                                     MATTHEW BOCKMON
15
                                                     Attorney for Deena Chambers
16
     Dated: December 8, 2016                         /s/ Shelly D. Weger by Kelly Babineau
17
                                                     SHELLY D. WEGER
18                                                   Assistant U.S. Attorney

19
                                            ORDER
20
           IT IS SO ORDERED.
21

22
     Dated: January 4, 2017
23

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